Case 08-45257        Doc 4118     Filed 10/25/18 Entered 10/25/18 17:20:23       Desc Main
                                  Document      Page 1 of 30



                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MINNESOTA

 In re                                                           Jointly Administered Under
                                                                     Case No. 08-45257
 Petters Company, Inc., et al.,
                                                                  Court File No. 08-45257
                                      Debtors.
                                                                       Court File Nos.:
 (includes:
 Petters Group Worldwide, LLC;                                            08-45258
 PC Funding, LLC;                                                         08-45326
 Thousand Lakes, LLC;                                                     08-45327
 SPF Funding, LLC;                                                        08-45328
 PL Ltd., Inc.;                                                           08-45329
 Edge One LLC;                                                            08-45330
 MGC Finance, Inc.;                                                       08-45331
 PAC Funding, LLC;                                                        08-45371
 Palm Beach Finance Holdings, Inc.)                                       08-45392


                                                                     Chapter 11 Cases
                                                                 Judge Kathleen H. Sanberg




  NOTICE OF HEARING AND MOTION OF PCI LIQUIDATING TRUSTEE AND BMO
    LITIGATION TRUSTEE FOR APPROVAL OF SETTLEMENT PURSUANT TO
                       BANKRUPTCY RULE 9019


         1.    Douglas A. Kelley, in his capacity as the Liquidating Trustee (the “PCI

Liquidating Trustee”) of the Liquidating Trust created pursuant to the Amended Liquidating

Trust Agreement dated April 22, 2016 (the “PCI Liquidating Trust”) and in his capacity as the

BMO Litigation Trustee (the “BMO Litigation Trustee,” and together with the PCI Liquidating

Trustee, the “Trustees”) of the BMO Litigation Trust created pursuant to the BMO Litigation

Trust Agreement dated April 22, 2016 (the “BMO Litigation Trust” and, together with the PCI

Liquidating Trustee, the PCI Liquidating Trust, and the BMO Litigation Trustee, the “Trust
Case 08-45257       Doc 4118     Filed 10/25/18 Entered 10/25/18 17:20:23           Desc Main
                                 Document      Page 2 of 30



Parties”) request that the Court approve the Settlement Agreement between the Trustees, on the

one hand, and PB Offshore Holdings LTD (“PB Offshore”), Stonehill Master Fund Ltd.

(“Stonehill”), Greenpond South, LLC (“Greenpond”), Michael Lenard Stern (“Stern”), and

Geoffrey Varga (“Varga,” and together with PB Offshore, Stonehill, Greenpond, and Stern,

“Defendants”), on the other hand (the “Agreement”), pursuant to sections 105 and 363 of title 11

of the United States Code, 11 U.S.C. § 101 et seq. (the “Bankruptcy Code”), and Rule 9019 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). A copy of the Agreement

is attached hereto as Exhibit A. In further support of this Motion, the Trustees represent as

follows:

       2.     The Court will hold a hearing on this motion at 10:00 a.m. on Thursday,

November 15, 2018, before the Honorable H. Kathleen Sanberg, in Courtroom No. 8 West,

United States Courthouse, 300 South Fourth Street, Minneapolis Minnesota, 55415.

       3.     Any response to this motion must be filed and served by 12:00 p.m. on

Saturday, November 10, 2018, which is five (5) days before the time set for the hearing

(including intermediate Saturdays, Sundays, and holidays).          UNLESS A RESPONSE

OPPOSING THE MOTION IS TIMELY FILED, THE COURT MAY GRANT THE

MOTION WITHOUT A HEARING.

       4.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 157 and 1334.

This matter concerns administration of the PCI Bankruptcy Estates; accordingly, this is a core

proceeding under 28 U.S.C. § 157(b)(2)(A), (B), (C), and (O).

       5.     The legal predicates for the relief sought herein are 11 U.S.C. §§ 105 and 363 and

Bankruptcy Rule 9019.

       6.     Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.



                                               2
Case 08-45257       Doc 4118       Filed 10/25/18 Entered 10/25/18 17:20:23      Desc Main
                                   Document      Page 3 of 30




                                   FACTUAL BACKGROUND

       7.      Petitions commencing the chapter 11 cases of Petters Company, Inc. and Petters

Group Worldwide, LLC were filed on October 11, 2008; petitions commencing the chapter

11 cases of PC Funding, LLC, Thousand Lakes, LLC, SPF Funding, LLC, PL Ltd., Inc.,

Edge One, LLC and MGC Finance, Inc. were filed on October 15, 2008; the petition

commencing the chapter 11 case of PAC Funding, LLC was filed on October 17, 2008; the

petition commencing the chapter 11 case of Palm Beach Finance Holdings, Inc. was filed on

October 19, 2008 (collectively, the “Chapter 11 Cases”).

       8.      The Chapter 11 Cases of the above debtors (the “Debtors”) are being jointly

administered under Case No. 08-45257 (the “PCI Bankruptcy Estates”).

       9.      On April 15, 2016, the Court entered an order confirming the Second Amended

Chapter 11 Plan of Liquidation [Dkt. No. 3263] (the “PCI Plan”) proposed by the PCI Trustee

and certain creditor proponents.

       10.     Insolvency proceedings of Palm Beach Offshore, Ltd. and Palm Beach Offshore

II, Ltd. (collectively, the “Offshore Funds”) were initiated on November 8, 2008 in the Grand

Court of the Cayman Islands, FSD 0038/2009-AJEF, over which Geoff Varga (“Varga”) was

appointed Joint Official Liquidator.

       11.     Petitions commencing the chapter 11 cases of Palm Beach Finance Partners, L.P.

(“PBF”) and Palm Beach Finance II, L.P. (“PBF II”) were filed on November 30, 2009

(collectively, the “PBF Bankruptcy Cases”) and the estates of the debtors in the PBF

Bankruptcy Cases are being jointly administered under the case captioned as In re Palm Beach




                                               3
Case 08-45257          Doc 4118   Filed 10/25/18 Entered 10/25/18 17:20:23        Desc Main
                                  Document      Page 4 of 30



Finance Partners, L.P. et al. (Case No. 09-36379) in the U.S. Bankruptcy Court for the Southern

District of Florida.

        12.     Varga filed claim nos. 64 and 103 against the PCI Bankruptcy Estates

(collectively, the “Varga Claim”) on behalf of the Offshore Funds. Varga sold a participation

interest in and to the Varga Claim to Stonehill.

        13.     The PCI Trustee filed an objection to the Varga Claim on March 11, 2016 and an

amended objection to the Varga Claim on December 17, 2016 (“Varga Claim Objection”). On

February 28, 2017, Offshore filed its Response in Opposition to the Varga Claim Objection. The

PCI Trustee’s pending objection of the Varga Claim shall be referred to as the “Contested

Claims Dispute.”

        14.     In early 2017, Varga transferred his full interest in the Varga Claim to PB

Offshore Holdings LTD (“Offshore”).

        15.     Greenpond purchased the allowed claim of Asset Based Resource Group, LLC

against PAC Funding, LLC [Claim No. 11] which is an allowed claim in the PCI Bankruptcy

Cases against certain of the Debtors, the PCI Liquidating Trust and the BMO Litigation Trust. A

portion of that claim was assigned to Interlachen Harriet Investments Limited on the effective

date of the PCI Plan (such unassigned portion retained by Greenpond, the “Acorn Claim”).

        16.     On May 9, 2018, the PCI Trustee initiated an adversary proceeding, captioned

Kelley v. Greenpond South, LLC, et al., Case No. 18-04064 (the “Adversary Proceeding”) by

filing a complaint against Offshore, Stonehill, Greenpond, Stern, and Varga asserting, among

other things, equitable subordination of both the Varga Claim and the Acorn Claim, breaches of

fiduciary duties owed to the PCI Bankruptcy Estates and aiding and abetting such breaches (the

“Complaint”).



                                                   4
Case 08-45257       Doc 4118        Filed 10/25/18 Entered 10/25/18 17:20:23          Desc Main
                                    Document      Page 5 of 30



       17.     On June 1, 2018, Defendants filed an Answer to the Complaint.

       18.     On July 27, 2018, the Court entered an order requiring that any further

distributions from the PCI Bankruptcy Estates on account of the Acorn Claim be withheld and

reserved until the PCI Trustee’s claim in the Adversary Proceeding are resolved [Dkt. No. 4080]

(the “Acorn Reserve”).

       19.     The Parties wish to avoid the expense and uncertainty associated with litigating

the issues raised in the Contested Claims Dispute and the Adversary Proceeding (the “Disputed

Matters”) and have negotiated in good faith to resolve the Disputed Matters. Pursuant to those

negotiations, the Parties have agreed to settle the Disputed Matters upon the terms and conditions

set forth in the attached Agreement.

               MEMORANDUM, TESTIMONY AND COURT APPROVAL

       20.     The Trustees have filed, contemporaneously herewith, a Memorandum of Law in

Support of Motion of PCI Liquidating Trustee and BMO Litigation Trustee for Approval of

Settlement Pursuant to Bankruptcy Rule 9019 (the “Memorandum”). The Memorandum is

incorporated herein by reference.

       21.     Notice is hereby given pursuant to Local Rule 9013-2(c) that, if necessary, the

Trustees may testify at the hearing on this motion in support of their motion to approve the

Agreement.

       22.     Pursuant to Local Rule 9011-4(f), the counsel below authorize the filing of this

motion with their electronic signatures.

                                    REQUEST FOR RELIEF

       23.     The Parties respectfully request that the Court enter an order, substantially in the

form attached hereto as Exhibit B (with such modifications as may be agreed by the Parties and



                                                5
Case 08-45257         Doc 4118   Filed 10/25/18 Entered 10/25/18 17:20:23          Desc Main
                                 Document      Page 6 of 30



the Court, the “Approval Order”), approving the Agreement pursuant to sections 105 and 363 of

the Bankruptcy Code and Bankruptcy Rule 9019, dismissing the Adversary Proceeding,

authorizing the dissolution of the Acorn Reserve, and granting such further relief as this Court

deems appropriate.1

Dated: October 25, 2018                     By: /s/ Joanne Lee
                                               Mark L. Prager, Admitted Pro Hac Vice
                                               William J. McKenna, Admitted Pro Hac Vice
                                               Joanne Lee, Admitted Pro Hac Vice
                                               Foley & Lardner LLP
                                               321 North Clark Street, Suite 2800
                                               Chicago, IL 60654-5313
                                               Telephone: (312) 832-4500
                                               Facsimile: (312) 832-4700

                                                -and-

                                                David E. Runck
                                                Lorie A. Klein
                                                FAFINSKI MARK & JOHNSON, P.A.
                                                400 Flagship Corporate Center
                                                775 Prairie Center Drive
                                                Eden Prairie, Minnesota 55344

                                                Counsel for Douglas A. Kelley in his capacity as
                                                Trustee of the PCI Liquidating Trust and the
                                                BMO Litigation Trust




   1
     Although the PCI Plan expressly grants the Trustees authority to settlement disputes
   without the Court’s approval, the Trustees seek the Approval Order in an abundance of
   caution, given the complexity and significance of the Disputed Matters.

                                               6
Case 08-45257      Doc 4118      Filed 10/25/18 Entered 10/25/18 17:20:23        Desc Main
                                 Document      Page 7 of 30



                                     VERIFICATION

        I, Douglas A. Kelley, declare under penalty of perjury that the facts set forth in the
foregoing Motion of PCI Liquidating Trustee and BMO Liquidating Trustee for Approval of
Settlement Agreement Pursuant to Bankruptcy Rule 9019 are true and correct according to the
best of my knowledge, information, and belief.

       Dated: October 25, 2018
                                                         /s/ Douglas A. Kelley
                                                         Douglas A. Kelley, as PCI
                                                         Liquidating Trustee and on behalf of
                                                         the PCI Liquidating Trust

        I, Douglas A. Kelley, declare under penalty of perjury that the facts set forth in the
foregoing Motion of PCI Liquidating Trustee and BMO Liquidating Trustee for Approval of
Settlement Agreement Pursuant to Bankruptcy Rule 9019 are true and correct according to the
best of my knowledge, information, and belief.

       Dated: October 25, 2018
                                                         /s/ Douglas A. Kelley
                                                         Douglas A. Kelley, as BMO
                                                         Litigation Trustee and on behalf of
                                                         the BMO Litigation Trust
Case 08-45257   Doc 4118   Filed 10/25/18 Entered 10/25/18 17:20:23   Desc Main
                           Document      Page 8 of 30



                       Exhibit A – Settlement Agreement
Case 08-45257        Doc 4118     Filed 10/25/18 Entered 10/25/18 17:20:23        Desc Main
                                  Document      Page 9 of 30



                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MINNESOTA

 In re                                                            Jointly Administered Under
                                                                      Case No. 08-45257
 Petters Company, Inc., et al.,
                                                                    Court File No. 08-45257
                                      Debtors.
                                                                        Court File Nos.:
 (includes:                                                               08-45258
 Petters Group Worldwide, LLC;                                            08-45326
 PC Funding, LLC;                                                         08-45327
 Thousand Lakes, LLC;                                                     08-45328
 SPF Funding, LLC;                                                        08-45329
 PL Ltd., Inc.;                                                           08-45330
 Edge One LLC;                                                            08-45331
 MGC Finance, Inc.;                                                       08-45371
 PAC Funding, LLC;                                                        08-45392
 Palm Beach Finance Holdings, Inc.)

                                                                       Chapter 11 Cases
                                                                   Judge Kathleen H. Sanberg




        THIS SETTLEMENT AGREEMENT AND RELEASE (the “Agreement”) is entered
into by (a) Douglas A. Kelley, in his capacity as the Liquidating Trustee (the “PCI Liquidating
Trustee”) of the Liquidating Trust (the “PCI Liquidating Trust”) created pursuant to the
Amended Liquidating Trust Agreement dated April 22, 2016 (the “PCI Liquidating Trust
Agreement”) and in his capacity as the BMO Litigation Trustee (the “BMO Litigation Trustee,”
and together with the PCI Liquidating Trustee, the “Trustees”) of the BMO Litigation Trust (the
“BMO Litigation Trust” and, together with the PCI Liquidating Trust and Trustees, the “Trust
Parties”) created pursuant to the BMO Litigation Trust Agreement dated April 22, 2016 (the
“BMO Litigation Trust Agreement”); and (b) PB Offshore Holdings LTD (“PB Offshore”),
Stonehill Master Fund Ltd. (“Stonehill”), Greenpond South, LLC (“Greenpond”), Michael
Lenard Stern (“Stern”), and Geoffrey Varga (“Varga,” and together with PB Offshore, Stonehill,
Greenpond, and Stern, “Defendants”). The Trust Parties and Defendants are collectively
referred to, when applicable, as the “Parties.”

                                         RECITALS

I.       THE PCI BANKRUPTCY CASES.

     WHEREAS, petitions under title 11 of the United States Code (the “Bankruptcy Code”)
commencing the chapter 11 cases of Petters Company, Inc. and Petters Group Worldwide,
Case 08-45257       Doc 4118    Filed 10/25/18 Entered 10/25/18 17:20:23           Desc Main
                                Document     Page 10 of 30



LLC were filed on October 11, 2008; petitions commencing the chapter 11 cases of PC
Funding, LLC, Thousand Lakes, LLC, SPF Funding, LLC, PL Ltd., Inc., Edge One, LLC
and MGC Finance, Inc. were filed on October 15, 2008; the petition commencing the chapter
11 case of PAC Funding, LLC was filed on October 17, 2008; and the petition commencing
the chapter 11 case of Palm Beach Finance Holdings, Inc. was filed on October 19, 2008
(collectively, the “PCI Bankruptcy Cases”);

       WHEREAS, the chapter 11 cases of the above-described debtors (the “PCI Debtors”) are
being jointly administered under Case No. 08-45257 (the “PCI Bankruptcy Estates”) in the
United States Bankruptcy Court for the District of Minnesota (the “PCI Bankruptcy Court”);

       WHEREAS, on April 15, 2016, the Court entered an order confirming the Second
Amended Chapter 11 Plan of Liquidation [Dkt. No. 3263] (the “PCI Plan”) proposed by the PCI
Trustee and certain creditor proponents;

II.    THE PBF BANKRUPTCY                  CASES      AND     OFFSHORE         INSOLVENCY
       PROCEEDINGS.

       WHEREAS, insolvency proceedings of Palm Beach Offshore, Ltd. and Palm Beach
Offshore II, Ltd. (collectively, the “Offshore Funds”) were initiated on November 8, 2008 in the
Grand Court of the Cayman Islands, FSD 0038/2009-AJEF, over which Varga was appointed
Joint Official Liquidator (the “Offshore Insolvency Proceedings”);

        WHEREAS, petitions commencing the chapter 11 cases of Palm Beach Finance Partners,
L.P. (“PBF”) and Palm Beach Finance II, L.P. (“PBF II”) were filed on November 30, 2009
(collectively, the “PBF Bankruptcy Cases”) and the estates of the debtors in the PBF
Bankruptcy Cases are being jointly administered under the case captioned as In re Palm Beach
Finance Partners, L.P. et al. (Case No. 09-36379) (the “PBF Bankruptcy Estates”) in the U.S.
Bankruptcy Court for the Southern District of Florida (the “PBF Bankruptcy Court”);

        WHEREAS, Barry Mukamal was appointed as the chapter 11 trustee and liquidating
trustee of the PBF Bankruptcy Estates (the “PBF Trustee”);

       WHERAS, PBF II and the PBF II Liquidating Trust established in the PBF Bankruptcy
Cases have an allowed claim against the PCI Bankruptcy Estates and the PCI Liquidating Trust
(the “PBF II Claim”);

III.   THE VARGA CLAIM AND THE ACORN CLAIM.

        WHEREAS, Varga filed Claim Nos. 64 and 103 against the PCI Bankruptcy Estates on
behalf of the Offshore Funds (collectively, the “Varga Claim”);

       WHEREAS, Varga sold a participation interest in and to the Varga Claim to Stonehill;

        WHEREAS, Varga transferred any and all interest he retained after the sale of the
participation interest in the Varga Claim to PB Offshore;




                                               2
Case 08-45257       Doc 4118     Filed 10/25/18 Entered 10/25/18 17:20:23             Desc Main
                                 Document     Page 11 of 30



       WHEREAS, the PCI Trustee filed an objection to the Varga Claim on March 11, 2016
and an amended objection to the Varga Claim on December 17, 2016 (collectively, the
“Objection”);

       WHEREAS, on February 28, 2017, PB Offshore filed its Response in Opposition to the
Objection (the “Varga Response,” and together with the Objection, the “Contested Claims
Dispute”);

        WHEREAS, Greenpond purchased the allowed claim of Asset Based Resource Group,
LLC against PAC Funding, LLC [Claim No. 11], which is an allowed claim in the PCI
Bankruptcy Cases, against certain of the PCI Debtors, the PCI Liquidating Trust, and the BMO
Litigation Trust, a portion of which claim Greenpond assigned to Interlachen Harriet Investments
Limited on the effective date of the PCI Plan pursuant to a Settlement Agreement dated on or
about January 15, 2016 (such unassigned portion retained by Greenpond, the “Acorn Claim”);

IV.    THE ADVERSARY PROCEEDING.

        WHEREAS, on May 9, 2018, the PCI Liquidating Trustee filed a complaint against
Defendants (the “Complaint”) in the adversary proceeding captioned Kelley v. Greenpond South,
LLC, et al., 18-04064, in which the PCI Liquidating Trustee sought equitable subordination of
both the Varga Claim and the Acorn Claim, disallowance of the Varga Claim and the Acorn
Claim, and other relief against Defendants due to Greenpond’s and Stern’s alleged breach of
fiduciary duty and Defendants’ aiding and abetting of the same (the “Adversary Proceeding,”
and together with the Contested Claims Dispute, the “Disputed Matters”);

        WHEREAS, on July 27, 2018, the PCI Bankruptcy Court entered an order requiring that
any further distributions from the PCI Bankruptcy Estates on account of the Acorn Claim be
withheld and reserved until the PCI Liquidating Trustee’s claims in the Adversary Proceeding
are resolved [Dkt. No. 4080] (the “Acorn Reserve Order”);

        WHEREAS, pursuant to the Acorn Reserve Order, the Trustees have withheld
distributions to Greenpond on account of the Acorn Claim in an escrow account (the “Acorn
Escrow”);

V.     THE SETTLEMENT.

       WHEREAS, pursuant to the PCI Plan and the PCI Liquidating Trust Agreement, the PCI
Liquidating Trust Committee was established and includes as its members Ronald Peterson (as
chapter 7 trustee of the chapter 7 estates of Lancelot Investors Fund LTD and its affiliated
debtors), Lance Breiland (on behalf of Interlachen Harriet Investments Limited), Barry Mukamal
(as the liquidating trustee of the PBF Bankruptcy Estates), Michael Stern (on behalf of
Greenpond), and Charles Cremens (the “PCI Trust Committee”);

        WHEREAS, Section 8.9(b)(v) of the PCI Plan provides that the PCI Liquidating Trustee,
subject to prior approval of the PCI Trust Committee, has authority to settle objections to claims;
and




                                                3
Case 08-45257      Doc 4118      Filed 10/25/18 Entered 10/25/18 17:20:23               Desc Main
                                 Document     Page 12 of 30



       WHEREAS, the Parties wish to fully and finally settle their disputes on the terms and
conditions set forth in this Agreement.

       NOW, THEREFORE, in consideration of the mutual covenants herein expressed, and for
other good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, the Parties agree as follows.

                                         AGREEMENT

       1.      Defined Terms. In addition to the terms defined above, the terms listed below
       shall have the following meanings for purposes of this Agreement:

       a.     “Claims”: All charges, complaints, claims (as defined in section 101(5) of the
              Bankruptcy Code), demands, rights, suits, debts, liens, agreements, contracts,
              rights of indemnification, rights of reimbursement, rights of subrogation, rights of
              contribution, rights of and rights to restitution, covenants, obligations, liabilities,
              judgments, losses, costs, attorneys’ fees, expenses, actions and causes of action,
              of any kind or description whatsoever, whether direct or derivative, inchoate or
              not inchoate, liquidated or unliquidated, fixed or contingent, matured or
              unmatured, disputed or undisputed, known or unknown, foreseen or unforeseen,
              suspected or unsuspected, in law, equity or otherwise.

       b.     “Defendant Releasing Parties”: (i) Defendants; (ii) any other person or entity that
              has asserted Claims or could assert Claims by or on behalf of Defendants; and
              (iii) any of the past, present, and future predecessors and successors in interest,
              subsidiaries, affiliates, parents, divisions, heirs, executors, administrators, assigns,
              and their respective past and present directors, officers, employees, principals,
              agents, and attorneys of each of the foregoing.

       c.     “Effective Date”: The date on which all conditions set forth in Section 7 of this
              Agreement are satisfied.

       d.     “Entity Defendant Released Parties”: Greenpond, the Stonehill Parties, and PB
              Offshore, as well as their respective predecessors and successors in interest, and
              their direct and indirect parents, subsidiaries, affiliates, divisions, and assigns, and
              their respective past and present directors, officers, employees, principals, agents,
              and attorneys of each of the foregoing.

       e.     “Individual Defendant Released Parties”: Stern and Varga, and their respective
              spouses and other immediate family members, their heirs, executors, personal or
              legal representatives, agents, insurers, estates, beneficiaries, predecessors,
              successors, assigns, any company or entity they own or control, and agents and
              attorneys of each of the foregoing.

       f.     “Stonehill Parties”: Stonehill Capital Management LLC, Stonehill Master Fund
              Limited, Stonehill Institutional Partners, L.P, as well as their respective
              predecessors and successors in interest, and their direct and indirect parents,
              subsidiaries, affiliates, divisions, and assigns, and their respective past and present


                                                 4
Case 08-45257     Doc 4118     Filed 10/25/18 Entered 10/25/18 17:20:23              Desc Main
                               Document     Page 13 of 30



            directors, officers, employees, principals, agents, and attorneys of each of the
            foregoing.

     g.     “Trust Released Parties”: The PCI Liquidating Trustee, the PCI Liquidating Trust,
            the BMO Litigation Trustee, the BMO Litigation Trust, the PCI Trust Committee,
            and its past and present members and representatives thereof solely in its or his
            capacity as a member of the PCI Trust Committee or the official committee of
            unsecured creditors in the PCI Bankruptcy Cases (the “PCI Creditors
            Committee”) (but not including Greenpond, Stern, or any other past or present
            representative of Greenpond on the PCI Trust Committee), the trust committee
            established pursuant to the BMO Litigation Trust Agreement (the “BMO
            Litigation Trust Committee”) and its past and present members and
            representatives thereof solely in its or his capacity as a member of the BMO
            Litigation Trust Committee or the PCI Creditors Committee, the PCI Debtors, the
            PCI Bankruptcy Estates, and their predecessors and successors in interest, and
            their respective direct and indirect parents, subsidiaries, affiliates, and divisions,
            and the past and present directors, officers, employees, principals, agents, and
            attorneys of each of the foregoing.

     h.     “Trust Releasing Parties”: (i) The PCI Liquidating Trustee, the BMO Litigation
            Trustee, the PCI Liquidating Trust, the BMO Litigation Trust, the PCI Debtors,
            the PCI Bankruptcy Estates; (ii) each member of the PCI Trust Committee, solely
            in its or his capacity as a member of the PCI Trust Committee or the PCI
            Creditors Committee; (iii) each member of the BMO Litigation Trust Committee,
            solely in its or his capacity as a member of the BMO Litigation Trust Committee
            or the PCI Creditors Committee; (iv) any other person or entity that has asserted
            Claims or could assert Claims by or on behalf of the PCI Liquidating Trust, the
            PCI Debtors, and the PCI Bankruptcy Estates; and (v) their predecessors and
            successors in interest, and their respective direct and indirect parents, subsidiaries,
            affiliates, and divisions, and the past and present directors, officers, employees,
            principals, agents, and attorneys of each of the foregoing.

     i.     “Trusts”: (i) the PCI Liquidating Trust; and (ii) the BMO Litigation Trust.

     2.     Releases By The Trust Releasing Parties. Upon the Effective Date, the Trust
     Releasing Parties hereby release, remise, waive, and forever discharge the Entity
     Defendant Released Parties and Individual Defendant Released Parties from any and all
     Claims that the Trust Releasing Parties ever had, now have, or hereafter can, shall or may
     have against any of the Entity Defendant Released Parties and Individual Defendant
     Released Parties from the beginning of time up to and including the Effective Date of this
     Agreement, based on, arising out of, or in any way relating to the PCI Debtors, the PCI
     Bankruptcy Cases, or the Trusts, including, without limitation, the Disputed Matters;
     provided, however, that nothing contained herein shall constitute or cause, or be deemed
     to constitute or cause, a release, discharge, or impairment of the rights and Claims (i) of
     the individual members of the PCI Trust Committee outside of their capacities as
     members of the PCI Trust Committee; or (ii) to enforce this Agreement, which are
     expressly reserved.


                                              5
Case 08-45257     Doc 4118     Filed 10/25/18 Entered 10/25/18 17:20:23             Desc Main
                               Document     Page 14 of 30



     3.      Releases By The Defendant Releasing Parties. Upon the Effective Date, the
     Defendant Releasing Parties hereby release, remise, waive, and forever discharge the
     Trust Released Parties from any and all Claims that the Defendant Releasing Parties ever
     had, now have, or hereafter can, shall, or may have against any of the Trust Released
     Parties from the beginning of time up to and including the Effective Date of this
     Agreement, based on, arising out of, or in any way relating to the PCI Debtors, the PCI
     Bankruptcy Cases, or the Trusts, including, without limitation, the Disputed Matters;
     provided, however, that nothing contained herein shall constitute or cause, or be deemed
     to constitute or cause, a release, discharge, or impairment of (a) the Acorn Claim and the
     Varga Claim (as modified herein) and the right of any holder of the Acorn Claim and the
     Varga Claim under the PCI Plan; (b) the PBF II Claim and the right of any holder of the
     PBF II Claim under the PCI Plan; (c) claims held by the Defendant Releasing Parties
     against PBF II; (d) any claims acquired with the consent of the PCI Trust Committee
     pursuant to Section 5 of this Agreement; (e) any claims in the Petters remissions or
     receivership proceedings; or (f) the right to enforce this Agreement, including, but not
     limited to, the right to receive distributions on the Varga Claim and the Acorn Claim, as
     modified by this Agreement.

     4.      Unknown Claims Released. The Parties expressly acknowledge and agree that
     the releases, discharges, and waivers included in Paragraphs 2 and 3 of this Agreement
     shall extend to Claims that the releasing parties do not know or suspect exist at the time
     of the releases, which, if known, might have affected the releasing parties’ decisions to
     enter into the releases. The Parties to this Agreement acknowledge that the foregoing
     waiver was separately bargained for and is a material term of this Agreement.

     5.      Future Acquisition Of Claims. Other than the Varga Claim (as modified by this
     Agreement), the Acorn Claim, and the Defendant Releasing Parties’ interests in PBF II,
     the Defendant Releasing Parties shall not, without advance written approval from the PCI
     Trust Committee, acquire any direct or indirect ownership or other interest (in whole or
     in part, whether direct or derivative, liquidated or unliquidated, fixed or contingent,
     matured or unmatured, disputed or undisputed, in law, equity, or otherwise) in any proof
     of claim or other Claims asserted against the PCI Debtors or the Trusts; provided,
     however, that nothing herein shall be deemed to be a bar against the Defendant Releasing
     Parties from selling, assigning, or otherwise transferring their claims to any affiliate. In
     the event of a breach of this Section 5, (i) such assignment, transfer, or other agreement
     shall be void ab initio; (ii) the Trusts shall have no liability whatsoever to any person or
     entity in respect of such assignment, transfer, or other agreement; and (iii) the Trusts may
     withhold any distributions that would otherwise be payable on account of such purchased
     claim, to the extent a Defendant Releasing Party is related, directly or indirectly, to such
     assignment, transfer, or other agreement, and such withheld amounts shall accrue to the
     benefit of the Trusts’ other beneficiaries.

     6.     Varga Claim. As of the Effective Date, the Varga Claim shall be deemed
     allowed pursuant to the PCI Plan in the amount of $45,000,000.00 against the PCI
     Liquidating Trust only. The remaining portion of the Varga Claim shall be disallowed
     against the PCI Liquidating Trust. As of the Effective Date, the Varga Claim shall,
     notwithstanding anything to the contrary in the PCI Plan, the BMO Litigation Trust


                                              6
Case 08-45257     Doc 4118     Filed 10/25/18 Entered 10/25/18 17:20:23              Desc Main
                               Document     Page 15 of 30



     Agreement, or otherwise, be deemed disallowed in its entirety against the BMO
     Litigation Trust, and Defendants expressly waive entitlement to any BMO Litigation
     Trust Interests (as defined in the BMO Litigation Trust Agreement) on account of the
     Varga Claim and further expressly waive any ongoing participation in the BMO
     Litigation Trust as BMO Litigation Trust Beneficiaries (as defined in the BMO Litigation
     Trust Agreement) on account of the Varga Claim. To avoid doubt, other than the Acorn
     Claim, Defendants shall have no Claims against or other interest in the BMO Litigation
     Trust whatsoever, all of which Defendants hereby release and waive, notwithstanding
     anything to the contrary in the PCI Plan or otherwise.

     7.       Effective Date. This Agreement shall be effective as of its execution by all
     Parties. The Trustees shall reserve the right to seek entry of a final order approving the
     settlement embodied herein by the PCI Bankruptcy Court (“Bankruptcy Court Approval
     Order”) upon written application and after notice and a hearing. A final order is an order
     that is final for purposes of 28 U.S.C. §§ 158 and 1291; is no longer subject to appeal or
     petition for certiori; and is not the subject of a pending appeal or petition for certiorari.
     The Parties may waive finality by written agreement. For the sake of clarity, the
     Agreement shall not be conditioned upon the Bankruptcy Court Approval Order;
     provided, however, that this Agreement shall be void ab initio should the PCI Bankruptcy
     Court decline to enter the Bankruptcy Court Approval Order after considering on the
     merits a motion brought under Rule 9019 of the Federal Rules of Bankruptcy Procedure
     (the “9019 Motion”). This Agreement shall remain in full force and effect should the
     PCI Bankruptcy Court decline to rule on the merits of the 9019 Motion on jurisdictional
     or procedural grounds. Defendants agree to cooperate with the Trustees, and execute and
     cause to be filed such pleadings, stipulations, or other documents, as may be necessary to
     secure the Bankruptcy Court Approval Order, as well as the approval of any other court
     or judicial or administrative body, whether in the United States or otherwise, as the
     Trustees deem necessary.

     8.      Distributions. The Trust Parties shall seek the Bankruptcy Court Approval Order
     on the earliest available hearing date after the Effective Date (the “Hearing Date”).
     Within five (5) days after the Hearing Date, the Trust Parties shall cause to be made from
     the PCI Liquidating Trust any catchup distributions on the Acorn Claim and Varga Claim
     (as modified herein) such that, following such distribution, holders of the Varga Claim
     (as modified herein) and the Acorn Claim will have received the same cumulative
     distribution rate as other allowed claims of general unsecured creditors. In the event this
     agreement shall be void ab initio pursuant to Section 7 of this Agreement, the Stonehill
     Parties shall be liable for any distributions holders of the Varga Claim (as modified
     herein) and the Acorn Claim received pursuant to this Section 8.

     9.     Agreement In PBF Bankruptcy Cases. This Agreement shall not, in any way,
     be contingent or conditioned upon the negotiation, execution, or approval of any
     agreement between the PBF Trustee and any of the Defendants in connection with any
     potential disputes pending before the PBF Bankruptcy Court. The Trust Parties agree to
     take no action in the PBF Bankruptcy Cases with respect to distributions or payments on
     account of any claims held by Defendants or their affiliates in the PBF Bankruptcy
     Cases; provided, however, that nothing in this clause shall restrict or otherwise impede


                                              7
Case 08-45257     Doc 4118    Filed 10/25/18 Entered 10/25/18 17:20:23              Desc Main
                              Document     Page 16 of 30



     the ability of the PBF Trustee to take any action in his capacity as the PBF Trustee for
     the PBF Bankruptcy Cases.

     10.    Covenants. Consistent with the releases and waivers contained in this
     Agreement, the Parties covenant and agree not to bring any action, litigation, or other
     proceeding or file or assert any Claim against the other Parties, directly or indirectly,
     seeking to recover on account of any Claims waived or released by this Agreement. The
     Trust Parties agree not to (i) challenge, hinder, or delay any distributions on account of
     the Varga Claim (as modified herein) or the Acorn Claim for any reason, including, but
     not limited to, setoff or equitable or other subordination; (ii) cause the creation of a
     reserve to withhold or delay payment on the Varga Claim (as modified herein) or the
     Acorn Claim; or (iii) challenge, hinder, or delay any distribution on account of the PBF II
     Claim to the extent that the basis of such challenge, hindrance, or delay is related to the
     Disputed Matters; provided, however, that nothing herein shall be deemed a waiver of,
     and the Trusts expressly preserve their rights to assert, any claims affecting the PBF II
     Claim arising out of facts or conduct unrelated to the Disputed Matters. Subject to
     Section 8 of this Agreement, the Trust Parties agree to cause distributions to be made on
     such claims by the PCI Liquidating Trust at the same time and payment rate as claims
     made on other general unsecured claims allowed under the PCI Plan.

     11.    Representations, Warranties, And Covenants By The Trust Parties. The
     Trust Parties, by signing this Agreement, represent, warrant, and agree that:

     a.     Each Trust Party intends to be legally bound and has the full power, authority, and
            legal right to execute and deliver, and to perform such Trust Party’s respective
            obligations under this Agreement and has taken all necessary action to authorize
            the execution and delivery of, and the performance of such Trust Party’s
            obligations under this Agreement;

     b.     Each Trust Party has the full power, authority, and legal right to release all Claims
            released by this Agreement;

     c.     The execution and delivery of this Agreement and the performance by each Trust
            Party of its or his obligations hereunder, including the release of Claims
            contemplated hereby, will not: (i) result in the violation by such Trust Party of
            any statute, law, rule, regulation, or ordinance, or any judgment, decree, order,
            writ, permit, or license of any governmental or regulatory authority applicable to
            such Trust Party; or (ii) except as otherwise expressly set forth in this Agreement,
            require such Trust Party to obtain any consent, approval, or action of, make any
            filing with, or give any notice to, any person, which action has not already been
            undertaken and accomplished by such Trust Party; and

     d.     Each Trust Party has read and understands this Agreement, including the releases
            contained herein, has obtained such counsel as such Trust Party deems
            appropriate before entering into this Agreement, and has independently
            determined to enter into this Agreement.




                                              8
Case 08-45257     Doc 4118     Filed 10/25/18 Entered 10/25/18 17:20:23             Desc Main
                               Document     Page 17 of 30



     12.    Representations, Warranties, And Covenants By Defendants. Defendants, by
     signing this Agreement, represent, warrant, and agree that:

     a.     The Varga Claim (as modified herein), the Acorn Claim, and the Stonehill
            Parties’ direct and indirect interest in the PBF Bankruptcy Cases and the Offshore
            Insolvency Proceedings represent all proofs of claim filed in the PCI Bankruptcy
            Cases and other Claims or interests in the Trusts in which any Defendant
            Releasing Party currently has any ownership or other interest (in whole or in part,
            whether direct, indirect or derivative, liquidated or unliquidated, fixed or
            contingent, matured or unmatured, disputed or undisputed, in law, equity, or
            otherwise);

     b.     Each Defendant has not sold, assigned, transferred, or otherwise disposed of, and
            will not sell, assign, transfer, or otherwise dispose of, any Claim purported to be
            released by such Defendant Releasing Party, or, to avoid doubt, any Claim that, if
            not for any such sale, assignment, transfer, or other disposition, would constitute a
            released Claim;

     c.     Each Defendant intends to be legally bound and has the full power, authority, and
            legal right to execute and deliver, and to perform such Defendant’s respective
            obligations under this Agreement and has taken all necessary action to authorize
            the execution and delivery of, and the performance of, such Defendant’s
            obligations under this Agreement;

     d.     Each Defendant has the full power, authority, and legal right to release all Claims
            released by this Agreement;

     e.     The execution and delivery of this Agreement and the performance by each
            Defendant of its or his obligations hereunder, including the release of Claims
            contemplated hereby, will not: (i) result in the violation by such Defendant of any
            statute, law, rule, regulation, or ordinance or any judgment, decree, order, writ,
            permit, or license of any governmental or regulatory authority applicable to such
            Defendant; or (ii) except as otherwise expressly set forth in this Agreement,
            require such Defendant to obtain any consent, approval or action of, make any
            filing with, or give any notice to, any person, which action has not already been
            undertaken and accomplished by such Defendant; and

     f.     Each Defendant has read and understands this Agreement, including the releases
            contained herein, has obtained such counsel as such Defendant deems appropriate
            before entering into this Agreement, and has independently determined to enter
            into this Agreement.

     13.     Dismissal Of Adversary Proceeding. Within five (5) days after the Hearing
     Date, (a) the Trustees will file a stipulation of dismissal of the Adversary Proceeding in a
     form reasonably acceptable to Defendants, which will seek dismissal with prejudice
     (subject to the terms of this Agreement) and without costs, attorneys’ fees or paralegal
     fees, and expenses to any of the Parties; and (b) any amounts held in the Acorn Escrow



                                              9
Case 08-45257     Doc 4118     Filed 10/25/18 Entered 10/25/18 17:20:23             Desc Main
                               Document     Page 18 of 30



     shall be released and distributed to Greenpond in accordance with Section 8 of this
     Agreement. Each of the Parties agrees to execute and to cause to be filed such pleadings,
     stipulations, or other documents as may be necessary to carry out the obligations set forth
     in this Section 13, each Party to bear its own expenses and attorneys’ fees or paralegal
     fees.

     14.     Inapplicability To Lancelot Investors Fund, Ltd. For avoidance of doubt, no
     provision of this Agreement is intended to apply in any way to Lancelot Investors Fund,
     Ltd., Varga’s role as Liquidator of Lancelot Investors Fund, Ltd., or the ability to assert
     claims and other rights pursuant to the Cross-Border Insolvency Protocol Agreement
     Regarding Lancelot Investors Fund, Ltd.; nor is this Agreement intended to modify or
     limit any right of the estate of Lancelot Investors Fund, Ltd. to, directly or indirectly,
     assert or share in the proceeds of any claim against the PCI Bankruptcy Estates, the PCI
     Liquidating Trust, or the BMO Litigation Trust.

     15.     Assignability. Except as set forth in Section 5 of this Agreement, no Party hereto
     may assign its rights under this Agreement without the prior written consent of each of
     the other Parties hereto.

     16.     Successors Bound; Third-Party Beneficiaries. This Agreement shall be
     binding upon and inure to the benefit of each of the Parties and their successors and
     permitted assigns. The Parties acknowledge and agree that the Trust Released Parties,
     the Entity Defendant Released Parties, and the Individual Defendant Released Parties are
     intended beneficiaries of the releases and waivers set forth in this Agreement; provided,
     however, that the Parties do not otherwise intend to confer any benefit by or under this
     Agreement upon any other person or entity or to impact, diminish, impair, or alter in any
     manner any Claims whatsoever that the Trust Parties may have against any parties other
     than the Entity Defendant Released Parties and Individual Defendant Released Parties.

     17.     No Admission Of Liability Or Wrongdoing. The Parties acknowledge that
     neither the execution nor the performance of any of the terms of this Agreement will
     constitute or be construed as an admission by any Party of any liability, as an admission
     of the validity or enforceability of any Claims being released, waived, and discharged by
     this Agreement, or as an admission of the validity of any of the defenses asserted in
     response to any of the Claims.

     18.     Governing Laws; Venue. This Agreement shall be governed, construed,
     interpreted, and enforced according to the internal laws of the State of Minnesota without
     regard to the conflicts of law principles of any jurisdiction except to the extent that the
     laws of such State are superseded by the Bankruptcy Code, the Federal Rules of
     Bankruptcy Procedure, or other applicable federal law. The parties agree that the District
     of Minnesota or the Hennepin County District (only to the extent a federal court lacks
     subject matter jurisdiction) shall be the exclusive venues for any disputes relating to this
     Agreement.




                                             10
Case 08-45257      Doc 4118    Filed 10/25/18 Entered 10/25/18 17:20:23             Desc Main
                               Document     Page 19 of 30



      19.     Headings And Rules Of Construction. The headings in this Agreement are
      inserted only as a matter of convenience and for reference and do not define, limit, or
      describe the scope of this Agreement or the scope or content of any of its provisions.

      20.     Counterparts; Electronic Copy Of Signatures. This Agreement and any
      attachments thereto may be executed and delivered in any number of counterparts, each
      of which so executed and delivered shall be deemed to be an original and all of which
      shall constitute one and the same document. The Parties may evidence their execution of
      this Agreement by delivery to the other Parties of scanned (.pdf) or faxed copies of their
      signatures, with the same effect as the delivery of an original signature.

      21.     No Waiver Of Right To Enforce Terms Of Agreement. By signing this
      Agreement, the Parties do not waive any right or claim to enforce the terms of this
      Agreement, but rather the Parties specifically reserve their rights to bring an action in a
      court of competent jurisdiction to enforce the terms of this Agreement.

      22.    Further Assurances. The Parties shall execute and deliver any document or
      instrument reasonably requested by any of them after the Effective Date that may be
      necessary or desirable to obtain the approvals required hereby and consummate the
      Agreement.

      23.    Entire Agreement. No promise or agreement other than those recited above has
      been made as consideration for the releases and discharges effected by this Agreement,
      and the Parties enter into this Agreement for the sole consideration recited herein. This
      Agreement constitutes the entire agreement and understanding of the Parties and
      supersedes all prior proposals, negotiations, understandings, representations, and
      agreements relating to such subject matter.

      24.     Authority To Execute. Each natural person signing this Agreement on behalf of
      a Party hereby expressly warrants and represents that such person is expressly authorized
      in law and in fact to do so on behalf of such Party.

      25.    All Amendments Must Be In Writing. The terms of this Agreement may not be
      changed, modified, waived, discharged, or terminated in any manner, except by written
      instrument signed by all of the Parties.

       IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be duly
executed and delivered on the date first written above.




                                              11
Case 08-45257   Doc 4118   Filed 10/25/18 Entered 10/25/18 17:20:23   Desc Main
                           Document     Page 20 of 30
Case 08-45257   Doc 4118   Filed 10/25/18 Entered 10/25/18 17:20:23   Desc Main
                           Document     Page 21 of 30
Case 08-45257   Doc 4118   Filed 10/25/18 Entered 10/25/18 17:20:23   Desc Main
                           Document     Page 22 of 30
Case 08-45257   Doc 4118   Filed 10/25/18 Entered 10/25/18 17:20:23   Desc Main
                           Document     Page 23 of 30



                           Exhibit B – Proposed Order
Case 08-45257           Doc 4118      Filed 10/25/18 Entered 10/25/18 17:20:23                 Desc Main
                                      Document     Page 24 of 30




                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MINNESOTA

    In re                                                                    Jointly Administered Under
                                                                                 Case No. 08-45257
    Petters Company, Inc., et al.,
                                                                               Court File No. 08-45257
                                            Debtors.
                                                                                   Court File Nos.:
    (includes:
    Petters Group Worldwide, LLC;                                                      08-45258
    PC Funding, LLC;                                                                   08-45326
    Thousand Lakes, LLC;                                                               08-45327
    SPF Funding, LLC;                                                                  08-45328
    PL Ltd., Inc.;                                                                     08-45329
    Edge One LLC;                                                                      08-45330
    MGC Finance, Inc.;                                                                 08-45331
    PAC Funding, LLC;                                                                  08-45371
    Palm Beach Finance Holdings, Inc.)                                                 08-45392


                                                                                 Chapter 11 Cases
                                                                             Judge Kathleen H. Sanberg




           ORDER GRANTING MOTION OF PCI LIQUIDATING TRUSTEE
    AND BMO LITIGATION TRUSTEE FOR APPROVAL OF SETTLEMENT PURSUANT
                        TO BANKRUPTCY RULE 9019


            Upon consideration of the Motion of PCI Liquidating Trustee and BMO Litigation

Trustee for Approval of Settlement Pursuant to Bankruptcy Rule 9019 (the “Motion”)1 filed in

the above-captioned Chapter 11 Case, and the Court having jurisdiction to consider the issues

and the relief requested pursuant to 28 U.S.C. §§ 157 and 1334; and consideration of the issues

and the requested relief being a core proceeding that the Bankruptcy Court can determine

1
    Capitalized terms used but not defined herein shall have the meaning set forth in the Motion.
Case 08-45257       Doc 4118     Filed 10/25/18 Entered 10/25/18 17:20:23             Desc Main
                                 Document     Page 25 of 30



pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C.

§§ 1408 and 1409; and due and proper notice having been provided; and it appearing that no

other or further notice need be provided; and based on the motion papers, the arguments of

counsel, and the record made at the hearing, IT IS HEREBY ORDERED THAT:

          1. The Motion is GRANTED.

          2. The Trustees are authorized to enter into the Agreement.

          3. The Agreement, as described in the Motion is approved in its entirety, and the

   parties thereto are authorized to perform their respective duties and obligations thereunder.

          4. The Adversary Proceeding is dismissed with prejudice.

          5. The Trust Parties are authorized to dissolve the Acorn Reserve.

          6. This Court retains jurisdiction with respect to all matters arising from, based upon

   or related to the implementation of this Order.

Dated:

                                                     Kathleen H. Sanberg
                                                     Chief United States Bankruptcy Judge




                                                2
Case 08-45257        Doc 4118     Filed 10/25/18 Entered 10/25/18 17:20:23      Desc Main
                                  Document     Page 26 of 30



                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MINNESOTA

 In re                                                           Jointly Administered Under
                                                                     Case No. 08-45257
 Petters Company, Inc., et al.,
                                                                  Court File No. 08-45257
                                      Debtors.
                                                                      Court File Nos.:
 (includes:
 Petters Group Worldwide, LLC;                                           08-45258
 PC Funding, LLC;                                                        08-45326
 Thousand Lakes, LLC;                                                    08-45327
 SPF Funding, LLC;                                                       08-45328
 PL Ltd., Inc.;                                                          08-45329
 Edge One LLC;                                                           08-45330
 MGC Finance, Inc.;                                                      08-45331
 PAC Funding, LLC;                                                       08-45371
 Palm Beach Finance Holdings, Inc.)                                      08-45392


                                                                     Chapter 11 Cases
                                                                 Judge Kathleen H. Sanberg




                 MEMORANDUM OF LAW IN SUPPORT OF
 MOTION OF PCI LIQUIDATING TRUSTEE AND BMO LITIGATION TRUSTEE FOR
    APPROVAL OF SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019


         Douglas A. Kelley, in his capacity as the Liquidating Trustee (the “PCI Liquidating

Trustee”) of the Liquidating Trust created pursuant to the Amended Liquidating Trust

Agreement dated April 22, 2016 (the “PCI Liquidating Trust”) and in his capacity as the BMO

Litigation Trustee (the “BMO Litigation Trustee,” and together with the PCI Liquidating

Trustee, the “Trustees”) of the BMO Litigation Trust created pursuant to the BMO Litigation

Trust Agreement dated April 22, 2016 (the “BMO Litigation Trust” and, together with the PCI

Liquidating Trustee, the PCI Liquidating Trust, and the BMO Litigation Trustee, the “Trust
Case 08-45257       Doc 4118     Filed 10/25/18 Entered 10/25/18 17:20:23             Desc Main
                                 Document     Page 27 of 30



Parties”) submit this memorandum of law in support of the Motion of PCI Liquidating Trustee

and BMO Litigation Trustee for Approval of Settlement Pursuant to Bankruptcy Rule 9019 (the

“Motion”).

                                 FACTUAL BACKGROUND

       The underlying facts are set forth in the motion and incorporated herein. Capitalized

terms used herein and not otherwise defined are defined in the Motion.

                                     BASIS FOR RELIEF

       Settlements and compromises are “a normal part of the process of reorganization.”

Protective Comm. For Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S.

414, 424 (1968) (quoting Case v. Los Angeles Lumber Prods., Co., 308 U.S. 106, 130 (1939));

ReGent Capital III, Inc. v. Official Committee of Unsecured Creditors (In re Trism, Inc.), 282

B.R. 662, 668 (B.A.P. 8th Cir. 2002). Settlement agreements are encouraged and favored by

courts in “the absence of mistake or fraud” and “will not be lightly set aside.” Justine Realty Co.

v. Am. Nat’l Can Co., 976 F.2d 385, 391 (8th Cir. 1992).

       The decision to approve a particular settlement lies within the sound discretion of the

Bankruptcy Court. In re Trism, Inc., 282 B.R. at 665 (citing Lambert v. Flight Transp. Corp. (In

re Flight Transp. Corp.), 730 F.2d 1128, 1135-36 (8th Cir. 1984)). Bankruptcy Rule 9019

provides that this Court has broad discretion to approve a compromise or settlement such as the

proposed Agreement.      In applying the foregoing provisions to a request for approval of a

settlement, Bankruptcy Rule 9019 provides that “[o]n motion by the trustee and after notice and

a hearing, the court may approve a compromise or settlement.” Fed. R. Bankr. P. 9019(a).

Further, section 363 of the Bankruptcy Code provides that a trustee may, after notice and a

hearing, enter into a transaction “other than in the ordinary course of business” involving



                                                2
Case 08-45257        Doc 4118     Filed 10/25/18 Entered 10/25/18 17:20:23              Desc Main
                                  Document     Page 28 of 30



property of the estate. See 11 U.S.C. § 363(b)(1). Section 105 of the Bankruptcy Code

compliments such provision by providing, in pertinent part, that “[t]he court may issue any

order… that is necessary or appropriate to carry out the provisions of [the Bankruptcy Code].”

Id. § 105(a).

       In the Eighth Circuit, “the standard for evaluation of a settlement ‘is whether the

settlement is fair and equitable and in the best interests of the estate.’” In re Wigley, 557 B.R.

678, 685 (8th Cir. B.A.P. 2016) (quoting Tri-State Fin., LLC v. Lovald, 525 F.3d 649, 654 (8th

Cir. 2008)). A settlement need not be perfect or offer the “best result possible.” Instead, the

bankruptcy court must “determine that the settlement does not fall below the lowest point in the

range of reasonableness.” In re Petters Co., Inc., 455 B.R. 166, 168 (B.A.P. 8th Cir. 2011)

(quoting Tri-State, 525 F.3d at 654).

       To determine the reasonableness of a settlement, courts will look to the following factors:

“(a) The probability of success in the litigation; (b) the difficulties, if any, to be encountered in

the matter of collection; (c) the complexity of the litigation involved, and the expense,

inconvenience and delay necessarily attending it; (d) the paramount interest of the creditors and a

proper deference to their reasonable views in the premises.” Id. (quoting Drexel Burnham

Lambert Corp. v. Flight Transp. Corp. (In re Flight Transp. Sec. Litig.), 730 F.2d 1128, 1135

(8th Cir. 1984)).    These factors seek to balance the probably benefit and potential cost of

pursuing a claim or defense against the costs of the proposed settlement. In considering a

settlement agreement, the Court may consider the opinions of the trustees and the any member of

the creditors’ committee. Petters, 455 B.R. at 176-77.

        THE AGREEMENT SATISFIES ALL NECESSARY DREXEL FACTORS

       The foregoing Drexel factors support approving the Agreement.



                                                 3
Case 08-45257        Doc 4118   Filed 10/25/18 Entered 10/25/18 17:20:23           Desc Main
                                Document     Page 29 of 30



        First, while the Trustees believe there is a reasonable probability that they will be

successful with respect to the Disputed Matters, there are attendant uncertainties given the

complexity of the claims, the defenses raised by Defendants, and the amount of evidentiary

support necessary for two trials. In the Varga Claim Objection, the PCI Trustee asserted, among

other things, that the Varga Claim was duplicative of the PBF II Claim and Varga, Stonehill, and

Offshore were equitably estopped from pursuing the Varga Claim. In the Offshore Response,

Offshore contended that the Varga Claim was not duplicative of and was distinct from the PBF II

Claim. Offshore also asserted that the PCI Trustee’s equitable estoppel claims were insufficient

as a matter of law. In the Adversary Proceeding, the PCI Trustee alleged that Defendants’

conduct constituted a breach of fiduciary duty and merited equitable subordination of both the

Varga Claim and the Acorn Claim. Defendants contested those allegations, claiming there was

no evidence of wrongful conduct. There is no certainty the Trust Parties will ultimately prevail

after the expenditure of additional estate funds and the delay of time associated with further

litigation.

        Second, because the objectives of both Disputed Matters are primarily the disallowance

or subordination of the Varga Claim and the Acorn Claim, the collectability factor outlined by

Drexel is not applicable.

        Third, the issues raised by the Disputed Matters are complex and difficult and would

require several days of witness testimony and evidence. Not only would the Bankruptcy Court

need to hold an evidentiary hearing on the Contested Claims Dispute, the Court would also need

to schedule a trial on the merits for the Adversary Proceeding.      The Parties have already

expended significant resources litigating the Disputed Matters and will most certainly incur

additional litigation expenses should the matters proceed to trial and likely appeal. In lieu of



                                               4
Case 08-45257         Doc 4118     Filed 10/25/18 Entered 10/25/18 17:20:23           Desc Main
                                   Document     Page 30 of 30



expending additional resources litigating the Disputed Matters, the Agreement provides for

finality and will make funds immediately available to Petters’ victims.

        Fourth, this Agreement is in the best interests of the creditors of these Chapter 11 Cases.

The Trusts will not incur additional litigation expenses and pursuant to this Agreement, tens of

millions of dollars will be freed from the litigation reserve and distributed to creditors of these

Chapter 11 Cases. Accordingly, the Agreement is in the best interest of the creditors of these

estates and satisfies this Drexel factor.

                                            CONCLUSION

        For the foregoing reasons, the Trustees respectfully request that the Court enter an order

(i) granting the Motion approving the Agreement, (ii) dismissing the Adversary Proceeding with

prejudice, (iii) authorizing the dissolution of the Acorn Reserve to facilitate distributions

therefrom, and (iv) granting such further and related relief as the Court deems just and proper.

Dated: October 25, 2018                       By: /s/ Joanne Lee
                                                 Mark L. Prager, Admitted Pro Hac Vice
                                                 William J. McKenna, Admitted Pro Hac Vice
                                                 Joanne Lee, Admitted Pro Hac Vice
                                                 Foley & Lardner LLP
                                                 321 North Clark Street, Suite 2800
                                                 Chicago, IL 60654-5313
                                                 Telephone: (312) 832-4500
                                                 Facsimile: (312) 832-4700

                                                 -and-

                                                 David E. Runck
                                                 Lorie A. Klein
                                                 FAFINSKI MARK & JOHNSON, P.A.
                                                 400 Flagship Corporate Center
                                                 775 Prairie Center Drive
                                                 Eden Prairie, Minnesota 55344

                                                 Counsel for Douglas A. Kelley in his capacity as
                                                 Trustee of the PCI Liquidating Trust and the
                                                 BMO Litigation Trust

                                                 5
